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 1   Amanda Tessar (pro hac vice)
     ATessar@perkinscoie.com
 2   PERKINS COIE LLP
     1900 Sixteenth Street, Suite 1400
 3   Denver, CO 80202-5255
     Telephone: 303.291.2300
 4   Facsimile: 303.291.2400
 5   ATTORNEY FOR PLAINTIFFS
     (Additional Counsel Listed on Signature Page)
 6
     DAVID G. WILLE (pro hac vice)
 7
      david.wille@bakerbotts.com
 8   BAKER BOTTS L.L.P.
     2001 Ross Avenue, Suite 600
 9   Dallas, TX 75201
10   Telephone: 214.953.6500 Fax: 214.953.6503

11   ATTORNEY FOR DEFENDANTS
     (Additional Counsel Listed on Signature Page)
12                        UNITED STATES DISTRICT COURT
13                       CENTRAL DISTRICT OF CALIFORNIA
14
15   MACOM TECHNOLOGY                          Case No. CV16-02859-CAS (PLAx)
     SOLUTIONS HOLDINGS, INC., a
16   Delaware corporation, and                 SUPPLEMENTAL JOINT REPORT
     NITRONEX, LLC, a Delaware limited         REGARDING CLAIM
17   liability company,                        CONSTRUCTION
18                     Plaintiffs,             Hearing Date: February 7, 2018
19         v.
20   INFINEON TECHNOLOGIES AG, a               Complaint Filed:        April 26, 2016
     corporation organized under the laws of   Discovery Cutoff:       June 29, 2018
21   Germany, and INFINEON
     TECHNOLOGIES AMERICAS                     Pre-Trial Conference:   Feb. 4, 2019
22   CORP., a Delaware corporation, and,       Trial Date:             Feb. 26, 2019
23                     Defendants.
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 1         Pursuant to the Court’s order dated February 9, 2018 (Dkt. 423), Plaintiffs
 2   MACOM Technology Solutions Holdings, Inc. and Nitronex, LLC (collectively,
 3   “MACOM”) and Defendants Infineon Technologies Americas Corp. and Infineon
 4   Technologies AG (collectively, “Defendants”) respectfully submit the following
 5   Supplemental Joint Report Regarding Claim Construction.
 6         Below, the two sides present a single dispute regarding whether Defendants’
 7   Disputed Term 9 should be included in the terms for construction. In addition, both
 8   sides jointly present options for a revised claim construction schedule, depending
 9   on the Court’s preferences with respect to whether it wishes to hear live expert
10   testimony.
11   I.    Terms for Construction
12         A.     MACOM’s Position
13         In the parties’ joint report to the Court dated January 19, 2018, Infineon
14   proposed that the Court construe fifteen separate claim terms—i.e., at least one for
15   every one of the fifteen patent claims that MACOM asserts. In essence, Infineon
16   took the position that every single one of the fifteen claims has one or more terms
17   that are ambiguous or need special definition. MACOM, by contrast, proposed that
18   the Court construe one claim term. Infineon’s approach is one that is commonly
19   attempted by accused infringers, who typically wish to find ways to construe every
20   claim asserted against them narrowly, in hopes of creating noninfringement
21   arguments for themselves. Nevertheless, courts have discretion to limit the number
22   of terms to be construed, and it need not agree to hear either any particular number
23   of disputes or “disputes” that are not plausible.     MyMedical Records, Inc. v.
24   Walgreen Co., No. 2:13–cv–00631–ODW, 2014 WL 2931695 at *1 (C.D. Cal. June
25   27, 2014) (citing In re Katz Interactive Call Processing Patent Litig., 693 F.3d
26   1303, 1313 (Fed. Cir. 2011) (district courts have inherent power to control their
27   dockets, including by limiting the number of claim terms for construction); see also
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 1   e.g., Stamps.com Inc. v. Endicia, Inc., 437 F. App’x 897, 902-903 (Fed. Cir. 2011));
 2   Sparks Networks USA, LLC v. Humor Rainbow, Inc., No. 2:11–cv–01430–JHN–
 3   JEMx, 2011 WL 7277589 at *3-*4 (C.D. Cal. July 7, 2011) (ordering the parties to
 4   limit the number of terms for construction to no more than five terms in claim
 5   construction connected to summary judgment briefing).
 6         At the hearing on Wednesday, February 7th, the Court questioned the need
 7   for it to construe each of the many terms that Infineon had proposed and ordered the
 8   parties to confer again regarding Infineon’s proposed term numbers 5, 7-9, 11, and
 9   13-15. In effect, the Court was asking whether there are legitimate disputes as to
10   the meaning of those terms. The parties have now conferred, and Infineon has
11   agreed to not to seek construction for claim terms 5, 7-8, 11, and 13-15 at this time.
12   But it maintains that claim term 9 (“an amorphous silicon nitride-based material
13   layer formed directly on the entire top surface of the silicon substrate”), which is
14   found in claim 41 of the ’015 patent, needs to be construed. MACOM disagrees.
15         The “term” that Infineon proposes for construction is not a “term” at all. Nor
16   is it even properly described as a “phrase.” It is instead eighteen words long
17   (longer than many sentences) and comprises almost an entire claim element. (See
18   ’015 patent, at Claim 36, 41.) Although the goal of claim construction is to resolve
19   questions or disputes that may exist about the meaning of a particular claim term, it
20   is not credible to suggest that an entire claim element should be wholesale
21   construed—and permitting this approach would unnecessarily burden and drag
22   down these proceedings.
23         This is particularly true given that the Court has agreed to construe a portion
24   of Infineon’s proposed “term” number 9 that falls within it (“on the entire top
25   surface of the silicon substrate”)—i.e., MACOM’s single term proposed for
26   construction. Infineon’s claim term 9 includes that language, along with other
27   words that surround it. Thus, in part, any alleged need for Infineon’s longer claim
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 1   term 9 is subsumed by the Court’s confirmation that it will construe the shorter
 2   term.
 3           Defendants suggest that the “term” 9 nevertheless needs to be construed
 4   because the parties agree that there is more than one way to form an amorphous
 5   silicon nitride layer. That is true, but misses the point. The goal of any claim
 6   construction proceeding is to determine what claim terms mean, either because
 7   there is some ambiguity or because the patentee has acted as her own lexicographer
 8   and attributed a special meaning to particular words or because there is otherwise
 9   some objective uncertainty about the scope of a claim term. Infineon does not and
10   cannot credibly allege that any of those situations exists here. Instead, it simply
11   hopes to obtain an insupportably narrow and results-driven construction that is
12   divorced from the language of the patent by limiting Claim 41 to a specific
13   formation technique (construing “formed” to mean only one type of formation). It
14   will then presumably argue that it does not infringe because it uses a different
15   formation technique than the one now required under its unduly narrow proposed
16   construction. But, merely announcing that there is a dispute as to scope does not
17   mean that there is a legitimate dispute, nor does it obligate this Court to construe
18   any particular claim term. See, e.g., Summit 6, LLC v. Samsung Elecs. Co., Ltd.,
19   802 F.3d 1283, 1291 (Fed. Cir. 2015) (distinguishing O2 Micro Int’l Ltd. v. Beyond
20   Innovation Tech. Co., 521 F.3d 1351, 1360 (Fed. Cir. 2008) and finding no error by
21   district court in declining to construe term where no construction was needed
22   because the plain and ordinary meaning of the disputed claim language was clear);
23   see also, e.g., Warner Chilcott Co., LLC v. Mylan Inc., CIV.A. 11-6844 JAP, 2013
24   WL 3336872, at *3 (D.N.J. July 2, 2013) (citing O2 Micro Int’l Ltd. v. Beyond
25   Innovation Technology Co., 521 F.3d 1351, 1362 (Fed. Cir. 2008); U.S. Surgical
26   Corp. v. Ethicon, Inc., 103 F.3d 1554, 1568 (Fed.Cir.1997)) (“A court is not
27   required to construe a claim term where there is not an actual dispute with respect
28   to that term.”); Natl. Oilwell Varco, L.P. v. Auto-Dril, Inc., 5:09CV85, 2011 WL
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 1   3648532, at *6 (E.D. Tex. Aug. 16, 2011) (“While it is a district court's duty is to
 2   construe the claims, part of this duty is to determine the extent which to
 3   construction is even necessary. With regard to meaning, where additional language
 4   may be unduly limiting, confusing, or redundant, it is in a court's power to
 5   determine that no construction is necessary.”). It is perhaps understandable that
 6   Infineon hopes to use claim construction here to try to obtain narrow constructions
 7   that support hoped-for noninfringement arguments, but there is no legitimate
 8   dispute as to the meaning of the Infineon’s proposed term 9, and MACOM
 9   therefore asks the Court to decline to construe it.1
10           B.     Defendants’ Position
11           At the hearing on Wednesday, February 7, the Court indicated that it would
12   address Defendants’ Disputed Terms 1–4, 6, 10, and 12 listed in the Joint Report
13   Regarding Claims Construction (Dkt. 418). In addition to those terms, Defendants
14   ask that the Court also address Defendants’ Disputed Term 9. That term and the
15   parties’ proposed constructions are reproduced below.
16
17       Term                       MACOM’s Proposed                 Defendants’
                                    Construction                     Proposed
18                                                                   Construction
19   “an amorphous silicon          A non-crystalline silicon        An amorphous silicon
     nitride-based material         nitride-based material layer     nitride-based material
20   layer formed directly on       formed on essentially the        deposited as a separate
     the entire top surface of      entire top surface of the        layer on the entire top
21   the silicon substrate”         silicon substrate, with no       surface of the
                                    intervening layer, although      substrate rather than
22       ‘015 Patent Claim 41       minor defects might exist.       converting the top
                                                                     surface of the
23
24
     1
          MACOM also asks the Court to reject the suggestion made in Infineon’s
25        footnote 3 below that it need not separately focus on the one and only term that
26        MACOM proposed for construction because that issue can supposedly be
          resolved within the wider context of the issue that Infineon, instead, wishes to
27        present. MACOM has submitted only one term for construction, and Infineon’s
          tactics to eliminate or minimize attention on that single issue in favor of its over-
28        long list of narrowing constructions should be rejected.
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 1                                                                  substrate to silicon
 2                                                                  nitride-based material.

 3
 4          Term 9 embodies a significant, substantive dispute that the Court should
 5   resolve. As both sides explained in their technology tutorials, the specification of
 6   the ‘015 Patent describes two processes for forming a silicon nitride layer:
 7   (1) conversion and (2) deposition. The parties, however, dispute whether Claim 41
 8   covers both those processes.     Defendants contend that Term 9 is directed to
 9   deposition and does not cover conversion.        MACOM contends that Term 9
10   encompasses both conversion and deposition. This dispute as to whether Claim 41
11   is limited to deposition is significant because Defendants contemplate that their
12   manufacturing process will not use deposition. If Claim 41 is limited to deposition
13   as Defendants contend, such a construction would be dispositive as to all asserted
14   claims 2 of the ‘015 Patent.3
15          MACOM does not deny there exists a dispute as to whether Claim 41 covers
16   only deposition as Defendants contends or covers both deposition and conversion
17   as MACOM contends. MACOM also does not deny that resolution of this dispute
18   may be dispositive as to the underlying infringement issues.
19
20   2
         The only asserted claims of the ‘015 Patent are Claims 14 and 41. Claim 14
21       uses similar language and thus embodies the same conversion/deposition
         dispute. See Term 8 in the Joint Report Regarding Claim Construction, Dkt.
22       418. By construing Claim 41, the Court would also resolve the same dispute
         about conversion and deposition with respect to Claim 14.
23   3
         MACOM has requested that the Court construe only a portion of Term 9, “on
24       the entire surface of the silicon substrate.” Although the Court could construe
         that language separately, the Court could also address that language in the
25       context of Term 9. Indeed, MACOM’s construction of Term 9 includes its
26       construction of “on the entire surface of the silicon substrate.” Thus, by
         addressing Term 9, the Court can resolve the above dispute about conversion
27       and deposition, as well as MACOM’s attempt to substitute “essentially the
         entire” for “the entire” in the phrase “on the entire surface of the silicon
28       substrate.”
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 1         Because the parties present an actual dispute regarding the scope of this
 2   claim term—and one that would be dispositive of MACOM’s infringement
 3   claims—the Court has a duty to resolve the dispute through claim construction. In
 4   O2 Micro Int’l Ltd. v. Beyond Innovation Technology Co., the Federal Circuit found
 5   that a district court erred by refusing to resolve the parties’ dispute at to claim
 6   scope. 521 F.3d 1351, 1360-63 (Fed. Cir. 2008). The court explained that, under
 7   Markman, “[w]hen the parties raise an actual dispute regarding the proper scope of
 8   these claims, the court, not the jury, must resolve that dispute.”          Id. at 1360
 9   (emphasis added); see id. at 1362 (“When the parties present a fundamental dispute
10   regarding the scope of a claim term, it is the court’s duty to resolve it.”). MACOM
11   invites error by leaving unresolved substantive disputes regarding claim scope
12         MACOM wrongly argues that Term 9 has too many words to be construed.
13   Contrary to MACOM’s argument, the dispute in O2 Micro related to an even longer
14   limitation, “a feedback control loop circuit . . . adapted to generate a second signal
15   pulse signal for controlling . . . [the] switches only if said feedback signal is above a
16   predetermined threshold.” Id. at 1356; see also id. at 1361 (“O2 Micro contends
17   that this ‘only if’ limitation only applies during ‘steady state operation,’ while
18   Defendants–Appellants contend that the ‘only if’ limitation applies at all times
19   without exception.”).
20         MACOM also wrongly argues that the parties’ dispute about whether Claim
21   41 covers both conversion and deposition can be resolved in the context of the
22   shorter phrase “on the entire surface of the silicon substrate.” That makes no sense
23   because the conversion and deposition dispute arises from the Term 9 language
24   (which includes the word “formed”).         That is why the only construction that
25   addresses the conversion and deposition dispute is Defendants’ construction of
26   Term 9. MACOM’s construction of the smaller term is focused solely on the
27   meaning of “entire.”
28         Third, MACOM wrongly argues that Defendants must show some special
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 1   lexicography or attribute some special meaning to the particular words of the claim
 2   language. MACOM’s argument is plainly inconsistent with O2 Micro. In 02
 3   Micro, the Federal Circuit held that even if the words of a claim have an ordinary
 4   meaning, that may not resolve the parties’ dispute as to the scope that should be
 5   given that claim language. Id. at 1361. Thus, Defendants do not have to show that
 6   any special meaning must be given to any particular words. The key issue is that
 7   there is a dispute as to the claim scope: Defendants contend that Term 9 is limited
 8   to deposition and does not cover conversion, and MACOM apparently contends
 9   that Term 9 covers conversion. Unless MACOM agrees with Defendants that Term
10   9 is limited to deposition and does not cover conversion, there is a dispute as to
11   claim scope that the Court must resolve.
12            Finally, because it cannot escape the fact that there is a real and significant
13   dispute regarding claim scope, MACOM resorts to asking the Court to prejudge the
14   merits of the parties’ claim construction dispute without full briefing. In so doing,
15   MACOM falsely characterizes Defendants’ position as simply construing “formed”
16   to mean one type of formation. That is not Defendants’ position. Defendants’
17   construction is based on the plain meaning of the entire limitation of Term 9 as a
18   whole, as well as the specification. The Court should not deprive Defendants of the
19   opportunity to present this dispute based on MACOM’s cursory assessment of the
20   merits of Defendants’ position.
21   II.      Revised Claim Construction Schedule
22            Both sides agree that the claim construction schedule should be revised to
23   allow an additional week for submission of opening claim construction briefs. 4 The
24   Court’s Status Conference Order (Dkt. 423) inserted a new deadline in the claim
25
     4
26         More accurately, Infineon requested extensions for the schedule, and MACOM
           agreed not to contest such extensions. MACOM’s agreement is premised on the
27         understanding that these short extensions to the claim construction proceedings
           will not be used as a pretext to extend the fact discovery cut-off or the broader
28         case schedule.
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 1   construction schedule: the parties must exchange claim construction evidence by
 2   Friday, February 16.
 3         The parties request that the deadline for opening claim construction briefs be
 4   moved one week from Friday February 23 to Friday, March 2. This additional time
 5   is necessary to accommodate the exchange of evidence and to adjust the opening
 6   expert declarations and briefs based on the Court’s response to this Supplemental
 7   Report. This one-week extension will give the parties two weeks to complete
 8   opening expert declaration and briefs, just as the parties’ schedule had originally
 9   contemplated. The below proposed schedules also allow an extra week for rebuttal
10   briefs to accommodate spring break vacations for Defendants’ counsel previously
11   scheduled for the week of March 12.
12         The parties have also conferred regarding their preference for expert
13   testimony at the Markman hearing. As the Court acknowledged at the February 7th
14   status conference, such extrinsic evidence generally weighs less heavily in the
15   claim construction analysis than the intrinsic record. Therefore, left to their own
16   devices, the parties are willing to forgo such live hearing testimony completely.
17   But—to the extent that the Court wishes to have experts testify in person, as was
18   suggested might be the case at the February 7th status conference—the parties wish
19   to accommodate that request. If experts will testify, however, the parties will
20   correspondingly need the opportunity to depose them in advance, which would
21   require additional time in the schedule. And, in that scenario, the parties have
22   agreed that it makes sense to exchange rebuttal expert declarations in advance of
23   any deposition and to hold the depositions prior to filing their rebuttal claim
24   construction briefing.
25         The parties therefore seek the Court’s guidance as to which path that it
26   prefers: they can present live expert testimony if the Court will find that beneficial
27   (although they would otherwise agree not to do so) or they can skip such testimony.
28   Depending on which approach that the Court prefers, two different proposed
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 1   schedules – either of which would be acceptable to both parties – are presented
 2   below. The attached proposed order provides the Court with the option of either
 3   schedule (as well as a blank to be filled in for the claim construction hearing,
 4   depending on the Court’s availability and preferences).
 5
                           Current       Proposed Schedule         Proposed Schedule
 6                         Schedule        Without Live            With Live Testimony
                                            Testimony               (if Court prefers)
 7
     Exchange
 8   evidence                                       Fri. Feb. 16
 9   disclosures
10   Opening claim
     construction brief
11   and opening          Fri. Feb. 23       Fri. Mar. 2                Fri. Mar. 2
12   expert
     declarations
13
     Parties exchange                                               Wed. Mar. 14th (in
14   rebuttal expert      Fri Mar. 9      Fri Mar 23 (with          advance of rebuttal
     declaration                           rebuttal briefs)          briefs and expert
15                                                                     depositions)
16   Expert                                                         By Fri. Mar 23 (in
17   depositions                                   None             advance of rebuttal
     complete                                                            briefs)
18
     Rebuttal claim       Fri. Mar. 9        Fri. Mar. 23               Fri Mar. 30
19   construction brief
20   Claim                                 Week of Apr. 9            Week of Apr. 16
     construction         Mon. Mar.        (TBD based on              (TBD based on
21                           26
     hearing                             Court’s availability)      Court’s availability)
22
23
24   Dated: February 14, 2018
25   By: /s/ David G. Wille                        By: /s/ Amanda Tessar
     David G. Wille                                Lara J. Dueppen, Bar No. 259075
26   Texas State Bar No. 00785250                  LDueppen@perkinscoie.com
     E-mail: david.wille@bakerbotts.com            PERKINS COIE LLP
27   Jeffery D. Baxter                             1888 Century Park East, Suite 1700
     Texas State Bar No. 24006816                  Los Angeles, CA 90067-1721
28
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 1   E-mail: jeff.baxter@bakerbotts.com            Telephone: 310.788.9900
     Brian D. Johnston                             Facsimile: 310.788.3399
 2   Texas State Bar No. 24080965
     E-mail: brian.johnston@bakerbotts.com         Amanda Tessar (pro hac vice)
 3   James C. Williams                             ATessar@perkinscoie.com
     Texas State Bar No. 24075284                  Elizabeth Banzhoff (pro hac vice)
 4   E-mail: james.williams@bakerbotts.com         EBanzhoff @perkinscoie.com
     Charles Yeh                                   PERKINS COIE LLP
 5   Texas State Bar No. 24075319                  1900 Sixteenth Street, Suite 1400
     E-mail: charles.yeh@bakerbotts.com            Denver, CO 80202-5255
 6   BAKER BOTTS L.L.P.                            Telephone: 303.291.2300
     2001 Ross Avenue                              Facsimile: 303.291.2400
 7   Dallas, Texas 75201
     Telephone: (214) 953-6791                     Philip A. Morin, Bar No. 256864
 8   Facsimile: (214) 953-6503                     PMorin@perkinscoie.com
                                                   PERKINS COIE LLP
 9   Lind M. Burrow, Bar No. 194668                11988 El Camino Real, Suite 350
      burrow@caldwell-leslie.com                   San Diego, CA 92130-2594
10                                                 Telephone: 858.720.5700
     Alison Mackenzie, Bar No. 242280              Facsimile: 858.720.5799
11    mackenzie@caldwell-leslie.com
     BOIES SCHILLER FLEXNER LLP                    Daniel T. Keese, Bar No. 280683
12   725 South Figueroa Street 31st Floor          DKeese@perkinscoie.com
                                                   PERKINS COIE LLP
13   Los Angeles, CA 90017-5524                    1120 N.W. Couch Street, 10th Floor
     Telephone:213-629-9040                        Portland, OR 97209-4128
14   Fax:213-629-9022                              Telephone: 503.727.2000
                                                   Facsimile: 503.727.2222
15   ATTORNEYS FOR INFINEON
     TECHNOLOGIES AMERICAS                         Morgan Chu (State Bar No. 70446)
16   CORP. AND INFINEON                            (mchu@irell.com)
     TECHNOLOGIES AG                               Joseph M. Lipner (State Bar No.
17                                                 155735)
                                                   (jlipner@irell.com)
18                                                 Ellisen Turner (State Bar No. 224842)
                                                   (eturner@irell.com)
19                                                 IRELL & MANELLA LLP
                                                   1800 Avenue of the Stars, Suite 900
20                                                 Los Angeles, CA 90067-4276
                                                   Telephone: 310-277-1010
21                                                 Facsimile: 310-203-7199
22                                                 Nima Hefazi (State Bar No. 272816)
                                                   (nhefazi@irell.com)
23                                                 IRELL & MANELLA LLP
                                                   840 Newport Center Drive, Suite 400
24                                                 Newport Beach, CA 92660
                                                   Telephone: 949-760-0991
25                                                 Facsimile: 949-760-5200
26                                                 ATTORNEYS FOR PLAINTIFFS
                                                   MACOM TECHNOLOGY
27                                                 SOLUTIONS HOLDINGS, INC.
                                                   AND NITRONEX, LLC
28
                                            -10-
